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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

UNITED STATES OF AMERICA
Plaintiffr

VS. CR. NO. 05-20034-Ml

LAKESHIA RICE

Defendant.

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V%.D. éZF" `l§, EMEI\£PHIS

 

ORDER ON CHANGE OF PLEA

 

This cause came to be heard on June l, 2005, the United States

Attorney for this district, Stephen Parker for Carroll Andre, appearing for
the Government and the defendant, Lakeshia Rice, appearing in person and
with counsel, Samuel Perkins, who represented the defendant.

With leave of the Court, the defendant Withdrew the not guilty plea
heretofore entered and entered, a plea of guilty to Count l Of the
Indictment.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this CaSe is SET for TUESDAY, SEPTEMBER 6, 2005, at 9200
a.m., in Courtroom No. 4, on the 9ch floor before Judge Jon Phipps McCalla.

Defendant is allowed to remain released on present bond.

ENTERED this the l day of June, 2005.

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JON HIPPS MCCALLA
1 ED STATES DISTRICT JUDGE

      

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 21 in
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Honorable J on McCalla
US DISTRICT COURT

